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                                          13                        UNITED STATES DISTRICT COURT
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                                          14                         CENTRAL DISTRICT OF CALIFORNIA

                                          15                                    WESTERN DIVISION

                                          16
                                          17 ALS SCAN, INC.,                              Case No.: 2:16-cv-05051-GW-AFM
                                          18                    Plaintiff,                CLOUDFLARE, INC.’S
                                                                                          RESPONSE TO ALS SCAN, INC.’S
                                          19         v.                                   “TRIAL BRIEF”
                                          20
                                               CLOUDFLARE, INC., et al.,                  Date:         May 1, 2018
                                          21                                              Time:         8:30 AM
                                                                Defendants.               Judge:        Hon. George H. Wu
                                          22                                              Trial Date:   April 24, 2018
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                                               CLOUDFLARE’S RESPONSE TO ALS SCAN’S                      CASE NO. 2:16-CV-05051-GW-AFM
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                                           1 I.      THE COURT SHOULD ENTIRELY DISREGARD ALS SCAN’S
                                           2         NONCONFORMING AND ILLEGITIMATE “TRIAL BRIEF.”
                                           3         ALS’s “trial brief” is a last-ditch and illegitimate attempt to rehash numerous
                                           4 arguments it has made before, this time citing old authorities that it claims it “newly
                                           5 discovered,” to continue its arguments on jury instructions, and to press what is
                                           6 essentially an untimely Daubert motion on Cloudflare’s expert Jeffrey Kinrich.
                                           7             Local Rule 16-10 provides for optional trial briefs as follows:
                                           8
                                                         Unless the Court otherwise orders, at least seven (7) days
                                           9             before trial is scheduled to commence, each party may serve
                                          10             and file a trial brief which may:

                                          11             (a) Update the Memorandum of Contentions of Fact and Law
                                                         by citing newly decided cases;
                                          12
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                                          13             (b) Brief such issues as directed by the Court; and
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                                          14             (c) Reply to the Memorandum of Contentions of Fact and Law
                                                         of any other party.
                                          15
                                          16         ALS Scan’s Memorandum of Contentions of Fact and Law contained one
                                          17 citation to case law. See Dkt 413 (filed March 22, 2018). That is no excuse for a
                                          18 last-minute trial brief to do the job the memorandum was supposed to do, with zero
                                          19 “newly decided cases.”
                                          20         The Court did not direct the parties to brief any issues that ALS Scan’s “trial
                                          21 brief” raises. Nor does ALS Scan’s “trial brief” devote any attention to replying to
                                          22 Cloudflare’s detailed and clear Memorandum of Contentions of Fact and Law.
                                          23         Ignoring all the standards of a trial brief under the Local Rule, ALS Scan
                                          24 instead continues its cavalier, “cowboy,” approach to its obligations and Court rules
                                          25 in this case. It uses the document as a vehicle for supplemental briefing on motions
                                          26 in limine and for extended argument on more than the three jury instructions that
                                          27 the Court directed both parties to address. For that reason, the Court should entirely
                                          28 disregard ALS Scan’s filing.

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                                           1 II.         ALS SCAN’S EFFORT TO DEPRIVE THE JURY OF GUIDANCE ON
                                           2             STATUTORY DAMAGES, AND TO EXCLUDE RELEVANT
                                           3             EVIDENCE, RELIES ON FUNDAMENTAL MISTAKES.
                                           4             ALS dismisses the authorities that Cloudflare previously presented about the
                                           5 survival of non-exhaustive statutory damages factors under Fitzgerald Pub. Co. v.
                                           6 Baylor Pub. Co., 807 F.2d 1110 (2d Circ. 1986), after the Supreme Court’s decision
                                           7 in Feltner v. Columbia Pictures Television, Inc., 523 U.S. 340 (1998). While
                                           8 Feltner made clear that there was a right to a jury trial on statutory damages, it did
                                           9 not change years of guidance that courts have developed for the trier of fact on
                                          10 statutory damages.
                                          11             ALS wrongly stated that the Fitzgerald factors have applied only in default
                                          12 contexts, and it claimed that Cloudflare had not shown instances where the factors
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                                          13 were given to a jury to inform their deliberations on statutory damages. But ALS
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                                          14 concedes (at p. 4) that the Eastern District of Virginia instructed the jury on many
                                          15 Fitzgerald factors in BMG Rights Management (US) LLC v. Cox Commc’ns, Inc.,
                                          16 no. 1:14-cv-1611, Trial Transcript at 2149-2150 (E.D. Va. 2015).1
                                          17
                                          18
                                          19
                                          20   1
                                                 In BMG, the court instructed the jury as follows: “You should award as statutory
                                          21   damages an amount that you find to be fair under the circumstances. In determining
                                               the appropriate amount to award, you may consider the following factors: The
                                          22   profits that Cox earned because of the infringement; the expenses Cox saved
                                          23   because of the infringement; the revenues that BMG lost because of the
                                               infringement; the difficulty of proving BMG's damages; the circumstances of the
                                          24   infringement; whether Cox acted willfully or intentionally in contributorily or
                                          25   vicariously infringing BMG's copyrights; deterrence of future infringement; and the
                                               amount of harm, in the form of monetary loss, that BMG could reasonably have
                                          26   avoided but for the failure to mitigate damages, if you find that BMG did fail to
                                          27   mitigate. You should award statutory damages whether or not there is evidence of
                                               the actual damage suffered by BMG, and your statutory damage award need not be
                                          28   based on the actual damages suffered by BMG.” Id.
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                                           1          Cloudflare now identifies more examples. The First Circuit discussed and
                                           2 approved the district court’s jury instructions in Sony BMG Music Ent. v.
                                           3 Tenenbaum, 719 F.3d 67 (1st Cir. 2013). The First Circuit stated:
                                           4              The court also gave the jury a set of non-exhaustive factors that
                                           5              it might wish to consider in issuing its award, including the
                                                          nature of the infringement; the defendant's purpose and intent;
                                           6              the profit that the defendant reaped, if any, or the expense that
                                           7              the defendant saved; the revenue lost by the plaintiff as a result
                                                          of the infringement; the value of the copyright; the duration of
                                           8              the infringement; the defendant's continuation of infringement
                                           9              after notice or knowledge of copyright claims; and the need to
                                                          deter this defendant and other potential infringers.
                                          10
                                          11 Id., 719 F.3d at 69. The Southern District of New York in Agence France Presse v.
                                          12 Morel, 111 U.S.P.Q. 2d (BNA) 2017 (S.D.N.Y. Aug. 13, 2014), upheld a statutory
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                                          13 damages award noting that it had instructed the jury consistently with the First
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                                          14 Circuit’s decision in Tenenbaum. Agence France Presse, 111 U.S.P.Q 2d 2017, at
                                          15 *12 n.6. The district court had given the jury “Bryant” factors that it considered
                                          16 similar to the Fitzgerald factors. Id.
                                          17          In Psihoyos v. John Wiley & Sons, Inc., the Second Circuit stated (in the
                                          18 context of the district court’s review of the jury’s damages award) that “[a]lthough
                                          19 revenue lost is one factor to consider, we have not held that there must be a direct
                                          20 correlation between statutory damages and actual damages.” 748 F.3d 120, 127 (2d
                                          21 Cir. 2014). The jury instruction was not in the opinion because the Court of
                                          22 Appeals found complaints about jury instructions waived (see n.9). Appendix A to
                                          23 this brief is a copy of the instructions from the joint appendix in that appeal. The
                                          24 court instructed “[w]ithin certain broad limits, the amount of statutory damages you
                                          25 may award on each infringed photograph rests in your discretion. However, in
                                          26 exercising that discretion, here are some factors you should consider. . . .” It then
                                          27 listed nine factors: “(1) the defendant's state of mind (in particular whether the
                                          28 defendant's conduct was willful, merely negligent, or innocent); (2) the expenses

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                                           1 saved, and profits earned, by the defendant; (3) whether defendant has cooperated
                                           2 in providing particular records from which to assess the value of the infringing
                                           3 material produced; (4) whether the defendant continued the infringing activity after
                                           4 notice or knowledge of the infringement or in reckless disregard of the infringement
                                           5 (5) the revenue lost by the plaintiff; (6) the value of the copyright; (7) the deterrent
                                           6 effect on the defendant and third parties; (8) the conduct and attitude of the parties;
                                           7 and (9) any other factor that you deem relevant, provided it is firmly based on the
                                           8 actual evidence in this case, and not on speculation or sympathy or any other
                                           9 extrinsic factor.” Appendix A (Joint Appendix at 2116-2117).
                                          10          Earlier this month a district court held a jury trial on damages after entry of
                                          11 default. The plaintiff elected statutory damages and the district court instructed the
                                          12 jury it could consider “(1) the infringer’s state of mind; (2) the expenses saved, and
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                                          13 profits earned by the infringer; (3) the revenue lost by the copyright holder; (4) the
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                                          14 deterrent effect on the infringer and third parties; (5) the infringer’s cooperation in
                                          15 providing evidence concerning the value of the infringing material; and (6) the
                                          16 conduct and attitude of the parties.” Shive v. J&C Baseball Clubhouse, Inc., No.
                                          17 CIV 15-0406 JB/JHR, 2018 WL 1801278, at *2 (D.N.M. Mar. 5, 2018) (citing
                                          18 Bryant v. Media Right Prods. Inc., 603 F.3d 135, 144 (2nd Cir. 2010)), report and
                                          19 recommendation adopted, No. CV 15-0406 JB/JHR, 2018 WL 1801909 (D.N.M.
                                          20 Apr. 12, 2018).
                                          21          Given numerous instances of juries receiving instructions like the instruction
                                          22 Cloudflare offers, ALS’s suggestion that there were no such instances is
                                          23 characteristic of its cavalier attitude toward the law.
                                          24          Moreover, ALS Scan’s argument that Feltner eliminated the need for
                                          25 guidance to a trier of fact, simply because the trier of fact is a jury and not a district
                                          26 judge, is silly. Courts have consistently referred to non-controlling guidance in the
                                          27 assessment of statutory damages, and it is useful for the jury to hear various factors
                                          28 that they may consider. The Ninth Circuit has expressly referred to guidance for a

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                                            1 jury: “The jury is guided by ‘what is just in the particular case, considering the
                                            2 nature of the copyright, the circumstances of the infringement and the like . . . .’”
                                            3 Dream Games of Arizona, Inc. v. PC Onsite, 561 F.3d 983, 993 (9th Cir. 2009)
                                            4 (internal quotations omitted) (citing Peer Int'l Corp. v. Pausa Records, Inc. 909
                                            5 F.2d 1332, 1336 (9th Cir. 1990), in turn quoting F.W. Woolworth Co. v.
                                            6 Contemporary Arts, Inc., 344 U.S. 228, 232 (1952)).
                                            7          It would be improper for the Court to deprive the jury of appropriate
                                            8 guidance on statutory damages and to exclude testimony by Cloudflare’s expert to
                                            9 illuminate some of the relevant topics of consideration. The Court should deny
                                           10 ALS’s effort to do so here.
                                           11          ALS Scan also gallops into a wild discussion of the relevance of lost
                                           12 licensing fees and royalty revenues by claiming that the “only factor relating to the
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                                           13 plaintiff and revenues” pertains to a plaintiff’s lost revenues, not the revenues a
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                                           14 plaintiff has actually received. ALS then seems to chide Mr. Kinrich and
                                           15 Cloudflare for not addressing lost licensing fees or royalty rates—but ALS then
                                           16 admits that it doesn’t charge for any licenses it gives to others and thus that it hasn’t
                                           17 lost any licensing fees or royalties. ALS has also suggested that Cloudflare is to
                                           18 blame for its declining revenues. In that context, ALS’s revenues are relevant: the
                                           19 constant downward trend in those revenues, beginning long before Cloudflare
                                           20 existed, without any effect by Cloudflare, is revealing. ALS evidently wants to
                                           21 avoid the question of “revenues lost” because the lack of lost revenues may weigh
                                           22 in favor of a small statutory damages award. That does not mean that the
                                           23 consideration of how much revenues a plaintiff lost and evidence suggesting no lost
                                           24 revenues are irrelevant to the jury’s consideration.
                                           25          Finally, ALS wants to keep the jury from hearing about the paltry value of
                                           26 ALS Scan’s copyrights. But the value of the copyrights is a legitimate
                                           27 consideration for the jury. See Sony, 660 F.3d at 490; Fitzgerald, 807 F.2d at 1117.
                                           28 ALS clings to an unpublished Ninth Circuit opinion as a counterweight to those

                                                 CLOUDFLARE’S RESPONSE TO ALS SCAN’S        5               CASE NO. 2:16-CV-05051-GW-AFM
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                                            1 reasoned decisions, and it misdescribes the unpublished opinion to boot. That
                                            2 opinion addressed an argument by a defendant that the district court’s failure to
                                            3 give an instruction that directed a jury to assess damages by measuring the market
                                            4 value of a work. New Form, Inc. v. Tekila Films, Inc., 357 Fed. Appx. 10, 11 (9th
                                            5 Cir. 2009). As the panel explained, “Tekila Films’s excessive-verdict claim turns
                                            6 on the incorrect premise that statutory damages must be tethered to actual
                                            7 damages.” Id. at 12 (emphasis added). “There is no required nexus between actual
                                            8 and statutory damages. . . . Accordingly, the district court did not err in refusing
                                            9 Tekila Films’s proposed instruction, which itself would have been a misstatement
                                           10 of the law.” Id. at 11-12 (emphasis added).
                                           11             Here, in contrast, Cloudflare seeks an instruction that does not require the
                                           12 jury to tether a statutory damages award to actual damages. Rather, its proposed
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                                           13 jury instruction simply tracks well established precedent that plaintiff’s lost
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                                           14 revenue, among other factors, is relevant.
                                           15             The jury has wide discretion but deserves guidance on considerations that
                                           16 numerous courts have identified as relevant to triers of fact, whether judges or
                                           17 juries. The Court should give jury instruction no. 55, and it should not restrict Mr.
                                           18 Kinrich’s expert testimony on the relevant considerations.
                                           19 III.        THE COURT SHOULD REJECT ALS SCAN’S CHALLENGES TO
                                           20             NUMEROUS APPROPRIATE AND CORRECT JURY
                                           21             INSTRUCTIONS.
                                           22             Pages 4-14 of ALS’s “trial brief” are a bold maneuver to escape the
                                           23 limitations that the Court imposed on the parties when it directed them to address
                                           24 only three jury instructions each in a joint filing.2 Nevertheless, Cloudflare will
                                           25 address each of ALS’s arguments below.
                                           26
                                                2
                                           27  The joint filing became impossible when ALS Scan unilaterally blew off the joint
                                              effort. The Court may note that a number of earlier filings in the case were late,
                                           28 and there have been earlier unilateral filings. Those resulted from repeated refusals

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                                            1          A.     “Compilations” and “Derivative Works” Are Relevant to
                                            2                 Statutory Damages, and Both Jury Instruction No. 36 and the
                                            3                 Language Regarding Compilations and Derivative Works that
                                            4                 Cloudflare Proposed in Instruction No. 52 Are Essential.
                                            5          ALS Scan seeks a big payday by claiming that “compilations” and
                                            6 “derivative works” are irrelevant. That allows it to seek billions of dollars by
                                            7 multiplying its claim of tens of thousands of “works” up to $150,000 per work. But
                                            8 the Copyright Act does not allow it to do so. Section 504(c) of the Copyright Act,
                                            9 17 U.S.C. § 504(c), sets a range for “an award of statutory damages for all
                                           10 infringements involved in the action, with respect to any one work.…” It then
                                           11 provides: “For the purposes of this subsection, all the parts of a compilation or
                                           12 derivative work constitute one work.” Id.
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                                           13          This case emphatically concerns compilations and collective works. ALS has
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                                           14 consistently referred to its “library,” its “photosets,” its “galleries,” and its
                                           15 “websites.” Each of those is a compilation: it consists of a collection of individual
                                           16 photographs into a group. Moreover, the evidence shows that ALS regularly added
                                           17 “updates” consisting of new galleries to its website. Those updates consisted of
                                           18 groups of individual photographs. ALS selected, combined, and assembled those
                                           19 photographs into “galleries,” which it adorned with “cover pages” just like
                                           20 magazines. Moreover, by selecting, assembling, and adding updates to preexisting
                                           21 versions of the ALS websites, ALS caused each of its two websites to be a
                                           22 compilation of compilations and at the same time a series of updated compilations
                                           23 (each of which was a derivative work of its predecessors within the meaning of 17
                                           24 U.S.C. § 101 (definition of “derivative work”)).
                                           25          ALS did not help itself by trying to argue otherwise. It stated, at 6: “ALS
                                           26 did not assemble pre-existing works into new compilations. Rather, it created
                                           27
                                           28 of ALS’s counsel to respect deadlines or requirements calling for joint efforts.

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                                            1 multiple new works in one shoot, then released the individual works derived from
                                            2 the shoot at the same time.” By ALS’s own terms, one “shoot” was a either a
                                            3 combination of multiple works onto a recording medium or the unfolding of a
                                            4 single work with multiple components (much as a single motion picture consists of
                                            5 many individual still image frames). That is a classic “compilation” and derivative
                                            6 work of all the individual component works. ALS’s situation is similar to that of a
                                            7 record producer creating an album. The Second Circuit recognized that albums of
                                            8 musical recordings constituted compilations of the underlying sound recordings,
                                            9 and it affirmed a statutory damages award that treated them all as one work. See
                                           10 Bryant v. Media Right Prod’ns, Inc., 603 F.3d 135, 140-143 (2d Cir. 2010); see
                                           11 also Capitol Records, Inc., v. MP3TUNES, LLC, 28 F. Supp. 3d 190, 191-92
                                           12 (S.D.N.Y. 2014). The fact that ALS may not have registered its works as
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                                           13 compilations makes no difference. See Bryant, 603 F.3d at 140 and n.4 (individual
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                                           14 songs separately copyrighted, yet only one award per album). “Although parts of a
                                           15 compilation or derivative work may be ‘regarded as independent works for other
                                           16 purposes[,]’ for purposes of statutory damages, they constitute one work. Xoom,
                                           17 Inc. v. Imageline, Inc., 323 F.3d 279, 285 (4th Cir. 2003) (quoting H.R.Rep. No.
                                           18 94-1476, at 162 (1976)).
                                           19         Moreover, when ALS “released the individual works,” that entailed adding
                                           20 them (in groups it called “updates”) to ALS’s two websites. Those websites
                                           21 consisted of selections and arrangements of those individual works, and they also
                                           22 derived from the various updates and the individual images that were components
                                           23 of those updates. At the end of the day, all of the images at issue in this case were
                                           24 parts of two websites: alsscan.com and alsangels.com. The Copyright Office
                                           25 specifically identifies “a revision of a website” as a typical derivative work. See
                                           26 Copyright Office Circular 14, “Copyright in Compilations and Derivative Works,”
                                           27 at 1 (available at https://www.copyright.gov/circs/circ14.pdf ). The same circular
                                           28 identifies “a website containing text, photos, and graphics” as a typical compilation.

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                                            1 Id. All the images at issue in this case are parts of alsscan.com or alsangels.com,
                                            2 and thus there are at most—for statutory damages purposes—two “works.” The
                                            3 jury must understand the law of statutory damages with respect to compilations and
                                            4 derivative works.
                                            5         B.     Fair Use is Relevant in Two Different Ways, Justifying
                                            6                Cloudflare’s Jury Instruction No. 37.
                                            7         ALS concedes (at 6) that fair use is relevant to direct infringement. That
                                            8 makes it relevant to this case because ALS must prove underlying direct
                                            9 infringements by others in order to establish contributory infringement by
                                           10 Cloudflare.
                                           11         While fair use by a defendant is a defense that the defendant must establish,
                                           12 fair use by a non-party is different. The landmark case by the Supreme Court on
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                                           13 both fair use and contributory infringement, Sony Corp. of Am. v. Universal City
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                                           14 Studios, Inc., 464 U.S. 417 (1984), had to consider whether Sony’s customers
                                           15 engaged in fair use or infringing activities by their use of Sony’s Betamax tape
                                           16 recorder to record broadcasts. In analyzing the fair use factors, the Court ruled that
                                           17 “respondents [the plaintiffs] failed to carry their burden with regard to home time-
                                           18 shifting.” Id., 464 U.S. at 451. The Ninth Circuit also recognized, in the
                                           19 notification context (very much at issue here), that a copyright owner must address
                                           20 fair use in sending notifications of claimed infringement: “We hold that the statute
                                           21 requires copyright holders to consider fair use before sending a takedown
                                           22 notification.” Lenz v. Universal Music Corp., 815 F.3d 1145, 1148 (9th Cir. 2015).
                                           23 That reflects the reality that, while a person may have an obligation to defend his or
                                           24 her own uses as fair, when a copyright holder accuses third parties of infringement,
                                           25 the copyright holder must deal with the question and not fob it off on the person
                                           26 receiving the accusation about someone else. Here, that means that ALS must
                                           27 address the questions of fair use by non-parties. There are substantial reasons why
                                           28 a jury may find that any reproductions that others caused in Cloudflare’s cache are

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                                            1 fair use: they exist for the sole purpose of efficient Internet communications; they
                                            2 are transient technological measures, thus with a transformative use; they “use” no
                                            3 more of any works than is necessary to carry out their technological function; and
                                            4 they do not do not affect the market value of the original works. In Amazon.com
                                            5 Google’s reproductions and displays from caches were fair use, even where they
                                            6 came from infringing sources. See Perfect 10, Inc., v. Amazon.com, Inc., 508 F.3d
                                            7 1146, 1163-68 (9th Cir. 2007).
                                            8          The fair use doctrine may also apply to Cloudflare’s defense of the
                                            9 contributory infringement claim. The Supreme Court in Sony approved the trial
                                           10 court’s statement that “the lines between direct infringement, contributory
                                           11 infringement and vicarious liability are not clearly drawn . . . ,” adding that
                                           12 “reasoned analysis of respondents' unprecedented contributory infringement claim
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                                           13 necessarily entails consideration of arguments and case law which may also be
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                                           14 forwarded under the other labels.” Sony, 464 U.S. at 435 n.17 (citing 480 F. Supp.,
                                           15 at 457-458). With vague boundaries among the different theories, there is no
                                           16 reason to confine application of the fair use doctrine rigidly.
                                           17          The majority of the panel in Visa twice criticized Judge Kozinski’s proposal
                                           18 in dissent of an “essential step” standard as blurring the distinction between direct
                                           19 infringement and contributory infringement. See Perfect 10, Inc. v. Visa Intern’l
                                           20 Serv. Assn., 494 F.3d 788, 797 n.6, 800 n.11 (9th Cir. 2007). As Cloudflare has
                                           21 previously explained, the decision in Louis Vuitton both quoted and rested upon
                                           22 that dissent. See Louis Vuitton Malletier SA v. Akanoc Solutions, Inc., 658 F.3d
                                           23 936, 944 (9th Cir. 2011)(quoting Visa, 494 F.3d at 812 (Kozinski, J., dissenting)).
                                           24 Thus, because ALS Scan, invoking Louis Vuitton, seeks to blur the line between
                                           25 direct and contributory copyright infringement, the fair use doctrine is relevant to
                                           26 the contributory infringement claim here.
                                           27
                                           28

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                                            1         C.     Implied License is Relevant to ALS’s Claims, and Therefore
                                            2                Cloudflare’s Jury Instruction No. 38 Is Appropriate.
                                            3         There is sufficient evidence of ALS’s conduct giving rise to an implied
                                            4 license to instruct the jury on the issue. ALS points only to its terms of service.
                                            5 The evidence shows, however, that ALS knew its users were using the unlimited
                                            6 download functionality that ALS offered and then uploading content to free
                                            7 websites. See e.g., Dkt. 12 ¶ 47. Courts have found comparable conduct sufficient
                                            8 to establish implied license. See Davis v. Tampa Bay Arena, Ltd., No. 8:12-CV-60-
                                            9 T-30MAP, 2013 WL 3285278, at *9 (M.D. Fla. June 27, 2013) (finding the record
                                           10 “clear” despite “the conditions [plaintiff] may have placed on the [defendant’s] use
                                           11 of his images on its Facebook page, [plaintiff] did not withdraw his permission to
                                           12 allow the [defendant] to use his images on Facebook even after [plaintiff] was
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                                           13 placed on notice numerous times during the parties’ relationship that the
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                                           14 [defendant] was not complying with the conditions”). Moreover, ALS does not
                                           15 impose the terms it invokes for viewing its free hosted galleries, which may be the
                                           16 source of infringements here. (TX1133). And ALS has uploaded its images to free
                                           17 third party websites, where its terms do not apply. See, e.g., Dkt. 106 ¶ 16; Dkt.
                                           18 300 ¶ 29.
                                           19         D.     To the Extent ALS Pursues “Distribution” and “Display” Claims,
                                           20                the Limitations of Section 109, and Therefore Cloudflare’s Jury
                                           21                Instructions Nos. 39 and 40, Are Relevant.
                                           22         ALS misunderstands the point of the Section 109 limitations on the
                                           23 distribution and display rights: they allow the lawful owner of “copies” of works to
                                           24 distribute them, or to display them in certain conditions, free of any control by the
                                           25 copyright owner. Those activities are not infringements. ALS must show that any
                                           26 persons engaging in distribution or display violate its rights notwithstanding the
                                           27 statutory limitations on those rights.
                                           28

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                                            1          The rights of an owner of a “copy” under section 109 do not depend on
                                            2 having purchased the copy. Despite the name “first sale doctrine,” the rights
                                            3 depend solely on owning a lawful copy, which may include copies acquired by
                                            4 means other than sale. See 17 U.S.C. § 109. Here, they may include copies that
                                            5 ALS authorized with its customer download option.
                                            6          Any violation of the distribution or display rights in this case must involve
                                            7 copies and not mere intangible transmissions. Specifically, to violate the
                                            8 “distribution” right under 17 U.S.C. § 106(3), one must “distribute copies of a
                                            9 copyrighted work to the public by sale or other transfer of ownership, or by rental,
                                           10 lease, or lending.” Section 101 of the Copyright Act, 17 U.S.C. § 101, defines
                                           11 “copies” as material objects. Cloudflare’s activities do not involve distributions of
                                           12 material objects. ALS appears to argue otherwise. To the extent the distribution
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                                           13 right is a live issue in this case, so is the section 109(a) limitation on that right, and
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                                           14 ALS must prove that violations of that right have occurred notwithstanding the
                                           15 limitation.
                                           16          To violate the public display right, one must “display the copyrighted work
                                           17 publicly.” 17 U.S.C. § 106(5). “To ‘display’ a work means to show a copy of it,
                                           18 either directly or by means of a film, slide, television image, or any other device or
                                           19 process or, in the case of a motion picture or other audiovisual work, to show
                                           20 individual images nonsequentially.” 17 U.S.C. § 101 (definition). “To perform or
                                           21 display a work ‘publicly’ means (1) to perform or display it at a place open to the
                                           22 public or at any place where a substantial number of persons outside of a normal
                                           23 circle of a family and its social acquaintances is gathered; or (2) to transmit or
                                           24 otherwise communicate a performance or display of the work to a place specified
                                           25 by clause (1) or to the public, by means of any device or process, whether the
                                           26 members of the public capable of receiving the performance or display receive it in
                                           27 the same place or in separate places and at the same time or at different times.” Id.
                                           28 (definition).

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                                            1          A public display by transmission, like a public performance by transmission,
                                            2 requires transmission to multiple persons from a single “copy.” The Second Circuit
                                            3 made that explicit with respect to public performances in Cartoon Network, LP,
                                            4 LLLP v. CSC Holdings, Inc., 536 F.3d 121, 134-40 (2d Cir. 2008). To begin with,
                                            5 Cloudflare believes that ALS Scan has no proof of any actual public displays. If
                                            6 there are any public displays, however, ALS Scan must prove that they fall outside
                                            7 the limitations of Section 109(c). As plaintiff with the burden of proof to establish
                                            8 the scope of its rights, ALS will need to marshal and present admissible evidence
                                            9 about the circumstances of any alleged displays.
                                           10          If ALS abandons its “distribution” and “display” claims, these jury
                                           11 instructions would no longer be necessary.
                                           12          E.      Acquiescence Is a Live Issue in the Case, and Cloudflare’s
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                                           13                  Instruction No. 41 Is Relevant.
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                                           14          ALS recycles the same argument it included in the parties’ proposed Joint
                                           15 Jury Instructions (Dkt. 460). It overlooks the unfavorable evidence against it in an
                                           16 attempt to usurp the jury’s role. In reality, its own testimony and evidence show
                                           17 that ALS advertised and permitted its users to download all of its images from its
                                           18 websites (e.g., Dkt. 349-3 ¶¶ 2c, 2d), and that it knew some members promptly
                                           19 uploaded its content to other websites (e.g., Dkt. 12 ¶ 47 (“I believe users are
                                           20 subscribing to ALS . . . then uploading that content without authority to
                                           21 imgchili.net”); Dkt. 328 ¶ 4 (“within hours after ALS posts a new content gallery
                                           22 on its secure webpages a stolen copy of the entire gallery is displayed for free on a
                                           23 pirate site . . . .”)).
                                           24          Moreover, ALS expressly accepted and tolerated the presence of its images
                                           25 on unauthorized websites, calling it “free advertising.” (e.g., TX734, TX800).
                                           26 Notably, it itself has uploaded images to accused websites. (e.g., Dkt. 106 ¶ 16).
                                           27 This ample evidence is more than sufficient to instruct the jury and allow it to
                                           28 consider the defense. See Jenkins v. Union Pac. R. Co., 22 F.3d 206, 210 (9th Cir.

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                                            1 1994), as amended (July 7, 1994) (“A party is entitled to an instruction concerning
                                            2 his or her theory of the case if it is supported by law and has some foundation in the
                                            3 evidence.”).
                                            4          F.     Cloudflare’s Proposal of Several Alternative Contributory
                                            5                 Infringement Standards in Instructions Nos. 42-45 Offers Several
                                            6                 Different Options and Ranks Them in Order.
                                            7          Cloudflare maintains that the standard following Metro-Goldwyn-Mayer
                                            8 Studios, Inc. v. Grokster, Ltd., 545 U.S. 913, 934-35 (2005), controls, and it thus
                                            9 asks the Court to instruct the jury with Cloudflare’s proposed instructions no. 42
                                           10 (elements and burden of proof) and no. 45 (product or service capable of substantial
                                           11 non-infringing use). See Joint Jury Instructions (Dkt. 460). Cloudflare anticipated,
                                           12 however, that the Court will not give that instruction under Grokster because of its
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                                           13 focus on the “material contribution” standard and ALS’s disavowal of any
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                                           14 “inducement” claim. Accordingly, Cloudflare offered its instruction no. 43 as an
                                           15 “alternative” proposal, without waiving its primary request for instructions nos. 42
                                           16 and 45. Cloudflare’s proposed instruction no. 43 articulates the law under Perfect
                                           17 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1172 (9th Cir. 2007), and Perfect 10,
                                           18 Inc. v. Giganews, Inc., 847 F.3d 657, 67 (9th Cir. 2017). Cloudflare offered
                                           19 another alternative, instruction no. 44, in the event that the Court rejects both its
                                           20 position that instruction nos. 42 and 45 control, and its alternative request for
                                           21 instruction no. 43. Cloudflare presents these multiple instructions out of an
                                           22 abundance of caution and to avoid any suggestion of waiver.
                                           23          G.     The Jury Deserves to Consider Copyright Misuse and to Receive
                                           24                 Instruction No. 46.
                                           25          ALS has unclean hands and misuses its copyrights by making threats and
                                           26 demands to coerce Cloudflare into removing cybersecurity services from websites,
                                           27 even when ALS knew that those websites respected and acted on DMCA take-
                                           28 down notifications. ALS claims that the websites were “pirate sites” dedicated to

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                                            1 infringement, but – as with its claims against ImageBam – ALS has no evidence of
                                            2 what percentage of materials on accused websites was legitimate and lawful. See
                                            3 Dkt. 443 at 15, n. 14 (While Plaintiff asserted that imagebam.com’s website
                                            4 “engaged in rampant infringement of adult content (see DSGD, Docket No. 396 at ¶
                                            5 7), there is no evidence as to the percentage of the content on the site that was, in
                                            6 fact, violative of any person’s copyrights.”). ALS also admits that it faces
                                            7 competition from free lawful pornography. This includes amateur adult materials
                                            8 that users can upload to free websites and monetize through advertising. And ALS
                                            9 also placed its own materials on websites that it has accused of infringement in this
                                           10 lawsuit. Thus, the evidence shows that ALS misuses its copyrights by planting its
                                           11 own materials on sites that it accuses of infringement, and using copyright claims to
                                           12 cripple websites with whom it did not want to compete, by stripping those websites
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                                           13 of security protection from unlawful cyberattacks.
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                                           14          In this context, ALS seeks to use the statutory monopoly of copyright far
                                           15 beyond its proper bounds, namely to control Cloudflare’s automated technology
                                           16 and to stifle lawful activities on the sites of Cloudflare’s customers.
                                           17          H.     Cloudflare’s Services Fall Within the Section 512(a) Safe Harbor,
                                           18                 and Instruction No. 47 Is Proper.
                                           19          Section 512(a) provides a safe harbor for a “service provider” that “offer[s]
                                           20 the transmission, routing, or providing of connections for digital online
                                           21 communications, between or among points specified by a user, of material of the
                                           22 user’s choosing, without modification to the content of the material as sent or
                                           23 received.” 17 U.S.C. § 512(k)(1)(A) (definition of “service provider” for purpose of
                                           24 section 512(a)). Cloudflare meets that definition. The exact service that Cloudflare
                                           25 markets and delivers to its users is a network that transmits and routes Internet
                                           26 communications at the user’s direction without modifying the content. Dkt. 381
                                           27
                                           28

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                                            1 (“Guinn Opp. Decl.”) ¶¶ 10-11, 16; Dkt. 383(“Paine Opp. Decl.”) ¶ 2; Dkt. 382
                                            2 (“Sullivan Opp. Decl.”) ¶¶ 3, 5, 7.3
                                            3             Although ALS did not discuss most of the specific qualifications of that safe
                                            4 harbor, the evidence shows that Cloudflare meets them, and the jury should receive
                                            5 an appropriate instruction. It acts upon transmissions at the direction of others; it
                                            6 transmits, routes, provides connections for, and makes only intermediate and
                                            7 transient storage of material by automated means without selecting the material;
                                            8 and it does not select recipients of the material except by automated responses to
                                            9 their requests. Guinn Opp. Decl. ¶¶ 9-11, 15-16; Sullivan Opp. Decl. ¶¶ 3-4; cf. 17
                                           10 U.S.C. § 512(a)(1)-(3). In its “conduit” role under section 512(a), as opposed to its
                                           11 “cache” role under section 512(b), Cloudflare does not maintain copies of material
                                           12 accessible to anyone other than those who requested the material, and it does not
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                                           13 maintain copies for longer than reasonably necessary for the conduit role. Guinn
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                                           14 Opp. Decl. ¶ 15; cf. 17 U.S.C. § 512(a)(4). As Cloudflare explained above, it
                                           15 transmits material through its system or network without modification of its
                                           16 content. Guinn Opp. Decl. ¶¶ 9-11, 16; Sullivan Opp. Decl. ¶¶ 3, 7; cf. 17 U.S.C.
                                           17 § 512(a)(5).
                                           18             ALS’s arguments against Cloudflare’s section 512(a) safe harbor rest on no
                                           19 law or evidence. First, ALS ignores evidence that Cloudflare’s systems literally
                                           20 transmit material of users’ choosing: it transmits material that its customers
                                           21 (website operators) choose to pass through Cloudflare’s system from their websites.
                                           22 Guinn Opp. Decl. ¶¶ 15-16; Paine Opp. Decl. ¶ 2; Sullivan Opp. Decl. ¶¶ 3, 7. The
                                           23 fact that some of the data may at some point pass over other systems or networks
                                           24 that others operate before reaching Cloudflare for transmission is irrelevant: the
                                           25
                                           26   3
                                               Because ALS’s arguments on this issue are a rehash of its arguments on its motion
                                           27 for partial summary judgment, the citations in this section are to documents that
                                              Cloudflare filed in opposition to that motion (Guinn Opp. Decl. is Dkt. 381;
                                           28 Sullivan Opp. Decl. is Dkt. 382; and Paine Opp. Decl. is Dkt. 383).

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                                            1 section 512(a) safe harbor does not apply only when one service provider controls
                                            2 all links in the transmission process. In the context of the Internet—a network of
                                            3 networks—that would be an absurd requirement, and it finds no support in the
                                            4 statute or case law. See Guinn Opp. Decl. ¶¶ 3, 5, 9; Paine Opp. Decl. ¶¶ 2, 4;
                                            5 Sullivan Opp. Decl. ¶ 3.
                                            6             Second, ALS sidesteps the fact that Cloudflare offers routing of
                                            7 transmissions through its system; that is the essence of Cloudflare’s services.
                                            8 See Guinn Opp. Decl. ¶¶ 9-11; Paine Opp. Decl. ¶ 2; Sullivan Opp. Decl. ¶¶ 3, 7.
                                            9 To begin with, ALS misstates the law, which applies to “transmission, routing, or
                                           10 providing of connections for digital online communications, between or among
                                           11 points specified by a user, of material of the user’s choosing.” Cloudflare’s
                                           12 customers authorize Cloudflare to obtain communications from their websites, to
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                                           13 transmit those communications through Cloudflare’s system, and to transmit them
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                                           14 on to persons who have sought the materials.4 Guinn Opp. Decl. ¶¶ 9-11, 15. That
                                           15 “points of presence” (PoPs) may participate in the routing or transmissions in the
                                           16 Internet’s dynamic environment does not alter that fact, and it would be absurd to
                                           17 construe the statutory language of the safe harbors for online services in a way that
                                           18 ignores fundamental characteristics of the Internet. Guinn Opp. Decl. ¶¶ 3, 5, 9-12;
                                           19 Sullivan Opp. Decl. ¶¶ 3, 8. Indeed, inherent in Section 512’s references to
                                           20 material transmitted across a “system or network” (groups or set of interconnected
                                           21 things) is a recognition that multiple, and often complex, components may be
                                           22 involved in such transmissions.
                                           23             Third, ALS misleadingly argues that Cloudflare modifies “content of a site.”
                                           24 Cloudflare does not do so. Guinn Opp. Decl. ¶¶ 9-11, 16; Sullivan Opp. Decl. ¶¶ 3,
                                           25
                                                4
                                                This (among other things) distinguishes Cloudflare’s service from the BitTorrent
                                           26 tracker at issue in Fung, 710 F.3d 1020 at 1041, which selected which users would
                                           27 communicate with each other. The Ninth Circuit implied that the tracker might fall
                                              within the section 512(d) safe harbor as an information location tool, but it held the
                                           28 defendant there failed to meet specific qualifications of that safe harbor. Id.

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                                            1 7. Cloudflare is a “content delivery service” that by definition delivers the
                                            2 customers’ content as it appears on the source web sites, following rules or
                                            3 instructions that the customers set. Guinn Opp. Decl. ¶ 9. While the term
                                            4 “content” can mean a variety of different things, the statute distinguishes between
                                            5 “material” and its “content”; it implicitly envisions that a service may modify one
                                            6 but not the other. See 17 U.S.C. 512(a)(5) (“the material is transmitted through the
                                            7 system or network without modification of its content”) (emphasis added).
                                            8 Cloudflare may compress some data in transit for purpose of efficiency, for
                                            9 example causing an image file to use less bandwidth, but it does not alter the
                                           10 appearance of the image—that is, the content of the material. Guinn Opp. Decl.
                                           11 ¶ 16. Similarly, Cloudflare uses “obfuscation” to cause email addresses to appear
                                           12 to persons but to be obscured from bots that may try to harvest them automatically.
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                                           13 Guinn Opp. Decl. ¶ 16; Sullivan Opp. Decl. ¶ 5. In the statutory distinction
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                                           14 between “material” and “content,” where “material” may refer to raw data
                                           15 consisting of zeroes and ones but “content” refers to the substance of what a person
                                           16 perceives (such as an image or text), Cloudflare may alter “material” but does not
                                           17 alter its “content.”
                                           18         Fourth, ALS provides no support for its simplistic suggestion that section
                                           19 512(a) applies only to services offering “a ‘dumb’ pipeline.” All online services
                                           20 actively manage their traffic using a variety of technologies and techniques. Guinn
                                           21 Opp. Decl. ¶¶ 10-12; Sullivan Opp. Decl. ¶¶ 3-4. This was true in the ‘90s and
                                           22 remains true today.
                                           23         Finally, ALS argues disingenuously that it sues Cloudflare not for its
                                           24 transmission but for reproduction, distribution, and display of material from
                                           25 Cloudflare data centers or from origin hosts through conduits owned by third
                                           26 parties. ALS has confused the cache function (“material from Cloudflare data
                                           27 centers”) with the conduit function (“material . . . from the origin host”). To the
                                           28 extent that caching is a common part of the modern Internet, Cloudflare will

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                                            1 address the system caching safe harbor below. For transmission services, section
                                            2 512(a) applies to any actions (including reproduction, distribution, or display) that
                                            3 occur “by reason of” Cloudflare’s “transmitting, routing, or providing connections
                                            4 for, material” or “by reason of the intermediate and transient storage of that
                                            5 material” in those activities. 17 U.S.C. § 512(a) (emphasis added).
                                            6          In any event, safe harbors protect service providers for a number of activities
                                            7 that occur by reason of the core activities, and the Ninth Circuit and Second Circuit
                                            8 expressly rejected arguments that the safe harbors did not protect activities that are
                                            9 ancillary to the core activities. In UMG Recordings, Inc. v. Shelter Capital
                                           10 Partners LLC, 718 F.3d 1006, 1015-20 (9th Cir 2013), the Ninth Circuit explained
                                           11 that the “by reason of” phrasing of the safe harbor intended to encompass and
                                           12 protect numerous additional activities that flowed from the core activity of the safe
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                                           13 harbor. In that case the court of appeals found that the creation of chunked and
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                                           14 Flash files, the making of multiple reproductions and transmissions, and the
                                           15 providing of access through streaming and downloads were all “by reason of”
                                           16 storage at the direction of a user under section 512(c). See also Viacom Intern., Inc.
                                           17 v. YouTube, Inc., 676 F.3d 19, 38-40 (2d Cir. 2012) (transcoding, playback, and
                                           18 “related videos” functions were by reason of storage of materials at direction of
                                           19 user).
                                           20          While Cloudflare qualifies also for the safe harbor under section 512(b) for
                                           21 its system caching function, the cache does not disqualify Cloudflare from the
                                           22 Section 512(a) safe harbor. The Ninth Circuit expressly approved application of
                                           23 section 512(a) to a service provider that maintained storage of materials for up to 14
                                           24 days—which the court of appeals considered to meet the standard of “intermediate
                                           25 and transient,” and which was not longer than was reasonably necessary—in
                                           26 Ellison v. Robertson, 357 F.3d 1072, 1081 (9th Cir. 2004).
                                           27          Cloudflare thus meets the qualifications of the section 512(a) safe harbor, and
                                           28 the jury should receive Instruction No. 47.

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                                            1         I.     Cloudflare’s Services Fall Within the Section 512(b) Safe Harbor,
                                            2                and Instruction No. 48 Is Proper.
                                            3         Cloudflare also qualifies for the distinct safe harbor under section 512(b) for
                                            4 its system caching services, and the Court should give instruction no. 48.
                                            5         There is no wonder why ALS wants to avoid any discussion of section
                                            6 512(b): this safe harbor has a strict limitation on notifications of claimed
                                            7 infringement to a service provider that provides caching: a copyright complainant
                                            8 must, in addition to providing information typically required for a notification to a
                                            9 section 512(c) storage or hosting service provider under section 512(c)(3), show
                                           10 that the source website of the cached material has taken the material down at the
                                           11 source or that a court has ordered removal of material from the source. Id.
                                           12 § 512(b)(2)(E)(ii). Cloudflare responds expeditiously to remove, or disable access
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                                           13 to, material that is claimed to be infringing, if a complainant meets the requirements
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                                           14 of sections 512(c)(3), 512(b)(2)(E)(i) and 512(b)(2)(E)(ii). Paine Opp. Decl. ¶ 8.
                                           15 ALS has never sent Cloudflare any complaints that met the requirements of sections
                                           16 512(c)(3), 512(b)(2)(E)(i), and 512(b)(2)(E)(ii). Paine Opp. Decl. ¶ 19.
                                           17         The evidence shows that Cloudflare meets all the qualifications and
                                           18 conditions of section 512(b). It automatically and temporarily stores material that
                                           19 Cloudflare’s customers make available online; it also transmits the material from its
                                           20 customers to other persons only when they request the material from the customers’
                                           21 websites. Guinn Opp. Decl. ¶ 13-15; Sullivan Opp. Decl. ¶ 4; cf. 17 U.S.C.
                                           22 § 512(b)(1). Cloudflare transmits the material without modification to its content
                                           23 from the manner in which the material was transmitted from its customers. Guinn
                                           24 Opp. Decl. ¶ 16; Sullivan Opp. Decl. ¶ 4; cf. 17 U.S.C. § 512(b)(2)(A). It complies
                                           25 with rules and protocols for refreshing, reloading, or updating of material from its
                                           26 customers’ websites. Guinn Opp. Decl. ¶ 14; Sullivan Opp. Decl. ¶ 4; cf. 17 U.S.C.
                                           27 § 512(b)(2)(B). It does not interfere with any technologies associated with the
                                           28 material to return to Cloudflare’s customers’ information that would have been

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                                            1 available to them by direct connections from persons requesting the material. Guinn
                                            2 Opp. Decl. ¶ 17; Sullivan Opp. Decl. ¶ 4; cf. 17 U.S.C. § 512(b)(2)(C). Cloudflare
                                            3 does not alter or interfere with conditions that its customers set for access to their
                                            4 materials, such as passwords or payments. Guinn Opp. Decl. ¶ 17; Sullivan Opp.
                                            5 Decl. ¶ 4; cf. 17 U.S.C. § 512(b)(2)(D).
                                            6          ALS’s argument regarding the application of section 512(b) contains nothing
                                            7 but wild and unsupported statements about the law. ALS’s argument that Section
                                            8 512(b) only applies where caching is for later use by a “customer” is wrong.
                                            9 Section 512(b) applies where the cached materials are made available by “a person
                                           10 other than the service provider” and are transmitted through the system or network
                                           11 to a different person. 17 U.S.C. § 512(b). Nothing in the statute says that such
                                           12 subsequent users of the system or network must be “customers.” And ALS’s bald
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                                           13 assertion that “Consumers aren’t users of Cloudfare’s system or network” is utterly
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                                           14 false. Ordinary consumers use Cloudflare’s services all the time, when they visit
                                           15 websites that are Cloudflare customers. Nothing in Section 512 supports ALS’s
                                           16 contrived argument that the safe harbor protections apply only when consumers are
                                           17 familiar with the providers or even the existence of the many systems or networks
                                           18 that handle their Internet activities.
                                           19          Likewise, the discussion of caches in Amazon.com that ALS invokes is
                                           20 irrelevant: the discussion was not about the safe harbor or the type of cache at issue
                                           21 here. See Amazon.com, 508 F.3d at 1156 and n.3; Guinn Opp. Decl. ¶ 13-14;
                                           22 Sullivan Opp. Decl. ¶ 4. Cloudflare thus meets all the qualifications and conditions
                                           23 of the section 512(b) safe harbor. The Court should therefore give the jury
                                           24 instruction no. 48.
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                                            1 Dated: April 25, 2018                   Respectfully submitted,
                                            2                                         FENWICK & WEST LLP
                                            3                                         By: /s/ Andrew P. Bridges
                                            4                                             Andrew P. Bridges

                                            5                                         Attorneys for Defendant
                                            6                                         CLOUDFLARE, INC.

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